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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No.     2:93CR90
                      ERROL WINTER                             )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States of America                                                                                     .


Date:          02/01/2023                                                               /s/ Elizabeth M. Yusi
                                                                                         Attorney’s signature


                                                                               Elizabeth M. Yusi, Va Bar No. 91982
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